       Case: 21-16756, 09/19/2022, ID: 12543892, DktEntry: 54-1, Page 1 of 3




                                     IN THE
                  UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
________________________________________
                                               )
TODD YUKUTAKE, et al.,                         )
                                               )
                         Plaintiffs-Appellees, )
                                               )
v.                                             ) No. 21-16756
                                               )
HOLLY T. SHIKADA, in her official capacity as  )
the Attorney General of the State of Hawaii,   )
                                               )
                         Defendant-Appellant. )
________________________________________ )

          MOTION FOR LEAVE TO FILE BRIEF AMICI CURIAE

      Amici Curiae Gun Owners of America, Inc., Gun Owners Foundation,

Gun Owners of California, Heller Foundation, Oregon Firearms Federation,

Tennessee Firearms Association, Virginia Citizens Defense League, Grass Roots

North Carolina, America’s Future, Inc., Conservative Legal Defense and

Education Fund, and Restoring Liberty Action Committee hereby move for leave

to file a brief amicus curiae in support of Plaintiffs-Appellees. It is hereby stated

as follows:

      1. All parties consent to the filing of this amicus brief.

      2. As stated more fully in the attached brief, amici curiae have extensive

experience with respect to the issues presented by this case, and have an
       Case: 21-16756, 09/19/2022, ID: 12543892, DktEntry: 54-1, Page 2 of 3




                                          2

significant interest in the outcome of this case. These amici have filed an amicus

curiae brief in this case on May 2, 2022. Amici believe that this brief will be of

assistance to the Court in its consideration of the Supreme Court’s recent

decision in New York State Rifle & Pistol Association v. Bruen to this case.

      3. This amicus brief is being filed within the time set by the Court’s order

directing the parties to file simultaneous supplemental briefs. Thus, it is believed

that no party will be prejudiced by the filing of this brief.

      WHEREFORE, we respectfully request that this Court grant leave to file

an amicus curiae brief in support of Plaintiffs-Appellees.

                                              Respectfully submitted,

                                               /s/ Jeremiah L. Morgan
                                              Jeremiah L. Morgan
                                              WILLIAM J. OLSON, P.C.
                                                370 Maple Avenue West, Suite 4
                                                Vienna, VA 22180-5615
                                                (703) 356-5070
                                                (703) 356-5085 (fax)
                                                wjo@mindspring.com
September 19, 2022                            Attorneys for Amici Curiae Gun
                                              Owners of America, Inc., et al.
       Case: 21-16756, 09/19/2022, ID: 12543892, DktEntry: 54-1, Page 3 of 3




                                        3

                        CERTIFICATE OF SERVICE

      IT IS HEREBY CERTIFIED that service of the foregoing M otion for Leave

to Brief Amici Curiae, was made, this 19 th day of September 2022, by the Court’s

Case Management/ Electronic Case Files system upon the attorneys for the parties.


                                             /s/ Jeremiah L. Morgan
                                            Jeremiah L. Morgan
                                            Attorney for Amici Curiae
                                            Gun Owners of America, Inc., et al.
